Case 1:01-cv-12257-PBS Document 468-2 Filed 08/13/03 Page 1 of 3

EXHIBIT A

DRUGS FOR WHICH NO PURCHASER IS ALLEGED

ABBOTT Aminosyn amino acid
Calcijek calcitrol
Liposyn II fat emulsion
acetylcysteine
acyclovir sodium
amikacin sulfate
cimetidine hydrochloride
clindamycin phosphate
destrose sodium chloride
dextrose
fentanyl citrate
furosemide
leucovorin calcium
vancomycin hydrochloride
ASTRAZENECA Diprivan propofol
AVENTIS Gammar-PI.V immune globulin
Taxotere docetaxel
BAXTER Agerastat
Bebulin VH factor ix (systemic)
Brevibloc esmolol hel
Buminate albumin (human)
Claforan cephalosporin (systemic)
Gammagard S/D immune globulin solution
Gentran
Holoxan/ifex
Iveegam EN immune globulin iv
Osmitrol
Recombinate factor viii
Travasol
cisplatin
dextrose
dextrose sodium chloride
doxorubicin hel
gentamicin
heparin
BAYER DTIC-Dome dacarbazine
Gamimune N immune globulin (human) iv

Case 1:01-cv-12257-PBS Document 468-2 Filed 08/13/03 Page 2 of 3

antihemophilic factor (human)

Kogenate

antihemophilic factor (recombinant)

Mithracin

plicamycin

BOEHRINGER

acycolvir sodium

amikacin sulfate

cytaribine

doxorubicin hydrochloride

etoposide

leucovorin calcium

methyltraxate sodium

mitomycin

vinblastine

vinblastine sulfate

BRAUN

dextrose

dextrose in lactated ringers

dextrose w/ sodium chloride

heparin sodium (porcine) in d5w

BMS

Etopophos

etopophos phosphate

Rubex

doxorubicin hel

Taxol

paclitaxel

amikacin sulfate

amphotercin b

DEY

metaproterenol sulfate

FUJISAWA

Aristospan

triamcinolone hexacetonide

Cefizox

ceftizoxime sodium or ceftizoxime
in d5w

Lyphocin

vancomycin hydrochloride

Nebupent

pentamidine isothionate

Pentam 3000

pentamidine isothionate

vinblastine sulfate

acyclovir sodium

dexamethasone sodium phosphate

doxorubicin hydrochloride

fluorouracil

GSK

Myleran

busulfan

Navelbine

vinorelbine tartrate

HOFFMAN-LA ROCHE

Cellcept [IV

mycophenalate mofetil hel

IMMUNEX

Leukine

sagramostin

Novantrone

mitoxane hydrochloride

JOHNSON & JOHNSON

Remicade

NOVARTIS

Lamprene

clofazimine

il

Case 1:01-cv-12257-PBS Document 468-2 Filed 08/13/03 Page 3 of 3

“An riamycin doxorubicin hydrochloride

Adrucil fluorouracil
Cytosar-U cytarabine
Neosar cyclophospamide
Toposar etoposide
Vincasar vincristine sulfate
bleomycin sulfate
SCHERING PLOUGH Integrilin eptifibatide
griseofulvin ultramicro crystalline
oxaprozin
ismn
sulcrafate
SICOR acyclovir sodium

amikacin sulfate
amphotericin b
doxorubicin hydrochloride
etoposide

leucovorin calcium
pentamidine isethionate
WATSON Ferrlecit sodium ferric gluconate complex
propanolol hcl
vancomycin hel
imipramine hel
perphenazine hcl

ili

